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                                                                                                                      Tonawanda



                                  Grand Island                                            Clarence           Newstead
                                         05   Tonawanda               Amherst

                                                                           07
                                              Tonawanda                                               06
                                                      04

                                                                      Cheektowaga
                                                                 03


                                                                          08              Lancaster            Alden
                                                  02
                                                       Buffalo




                                                                      West Seneca 11
                                                                                            Elma             Marilla
                                                             01




                                                                      Orchard Park
                                                                                           Aurora              Wales

County subdivisions not defined                   Hamburg                                     09




                          Evans                   Eden                 Boston              Colden             Holland

                                                 10


                      Brant
                                                 North Collins

                     Cattaraugus                                                                           Sardinia
                                                                                Concord


                                                       Collins
